              Case 22-11437-pmm                        Doc          Filed 11/07/24 Entered 11/07/24 09:02:27                                Desc Main
   Fill in this information to identify the case:                   Document      Page 1 of 9
Debtor 1                 ELAINE HYACIATH JOHNSON
                         _____________________________________________________________________


Debtor 2                 _____________________________________________________________________
(Spouse, if filing)

                                        Eastern District of Pennsylvania (Philadelphia)
United States Bankruptcy Court for the: ______________________________________________________________________________________________________

             22­11437
Case number __________________________



 Official Form 410S1
 Notice of Mortgage Payment Change                                                                                                                     12/15

 If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
 debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
 as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
 Name of creditor:                                                                                                             9
                                                                                                   Court claim no. (if known): _______________________
 Chase Home Lending Mortgage Trust 2024­RPL1




                                                                                                   Date of payment change:
                                                                                                   Must be at least 21 days after date
                                                                                                   of this notice                           12/01/2024
                                                                                                                                            _____________


                                                                                                  New total payment:
                                                                                                                                             666.65
                                                                                                                                            $________________
                                                                                                  Principal, interest, and escrow, if any
 Last 4 digits of any number you use to
 identify the debtor’s account:                                      3 ____
                                                                    ____ 2 ____
                                                                            8 ____
                                                                                5

   Part 1:            Escrow Account Payment Adjustment

  1.        Will there be a change in the debtor’s escrow account payment?

             No
            ✔ Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the basis
            
                for the change. If a statement is not attached, explain why:



                                           316.12
                Current escrow payment: $ _________________                                                                       267.48
                                                                                                            New escrow payment: $ _________________

  Part 2:             Mortgage Payment Adjustment

  2.        Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
            variable-rate account?
            
            ✔ No
             Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why:



                Current interest rate: __________________%                                      New interest rate: __________________%

               Current principal and interest payment: $ __________________                     New principal and interest payment: $ __________________

  Part 3:             Other Payment Change


       3.     Will there be a change in the debtor’s mortgage payment for a reason not listed above?
              ✔ No
              
               Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                  (Court approval may be required before the payment change can take effect.)
               Reason for change:



                      Current mortgage payment: $ _________________                                New mortgage payment: $ _________________
 Official Form 410S1                                                    Notice of Mortgage Payment Change                                             page 1
                ELAINE HYACIATH JOHNSON                                                               22­11437
      Case
      Debtor 1 22-11437-pmm               Doc Filed       11/07/24 Entered 11/07/24
                ________________________________________________________
                First Name     Middle Name       Last Name
                                                                              Case number (if 09:02:27          Desc Main
                                                                                              known) ______________________

                                                Document           Page 2 of 9
 Part 4:      Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number.


 Check the appropriate box.

     I am the creditor.
     I am the creditor’s authorized agent.
    ✔


 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge,
 information, and reasonable belief.




     /s/Raymond Reynolds
      ______________________________________________________________
      Signature
                                                                                      11/06/2024
                                                                                Date _______________




 Print:______________________________________________________________
        Raymond Reynolds                                                         Authorized Officer
                                                                                ____________________________________________________________
        First Name            Middle Name             Last Name                 Title


 Company JPMorgan Chase Bank, N.A.
         ____________________________________________________________

 Address    Chase Records Center Attn: Correspondence Mail
            _____________________________________________________________
            Number                  Street

            700 Kansas Lane, Mail Code LA4-5555
            _____________________________________________________________
            Address 2

             Monroe                                  LA      71203
            _____________________________________________________________
              City                                      State        ZIP Code



                     866-243-5851                                                PCN_Escalations@chase.com
 Contact phone _________________________                                        ____________________________________________________________
                                                                                Email




Official Form 410S1                                     Notice of Mortgage Payment Change                                              page 2
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                     UNITED STATES BANKRUPTCY COURT            Page 3 of 9

                                          Eastern District of Pennsylvania (Philadelphia)


                                                   Chapter 13 No. 22-11437
                                                   Judge: JUDGE PATRICIA M. MAYER

In re:
ELAINE HYACIATH JOHNSON
                                          Debtor(s).

                                          CERTIFICATE OF SERVICE
I hereby certify that this Notice, including all attachments, is being served on or before November 08, 2024 via filing with the US
Bankruptcy Court's CM ECF system and/or by mailing or providing a copy of this document to a vendor for mailing: By U.S. Postal
Service First Class Main Postage Prepaid


Debtor:                            By U.S. Postal Service First Class Mail Postage Prepaid
                                    ELAINE HYACIATH JOHNSON
                                    6345 LAWNDALE AVENUE

                                    PHILADELPHIA PA 19111



                                   By U.S. Postal Service First Class Mail Postage Prepaid
                                    N/A




Debtor’s Attorney:                 By U.S. Postal Service First Class Mail Postage Prepaid
                                    MICHAEL A CIBIK
                                    CIBIK LAW PC
                                    1500 WALNUT STREET
                                    SUITE 900
                                    PHILADELPHIA PA 19102


                                   By U.S. Postal Service First Class Mail Postage Prepaid
                                    N/A




Trustee:                           By U.S. Postal Service First Class Mail Postage Prepaid
                                    KENNETH E WEST
                                    OFFICE OF THE CHAPTER 13 STANDING TRUSTEE
                                    1234 MARKET STREET - SUITE 1813

                                    PHILADELPHIA PA 19107

                                                        _______________________________________________
                                                        /s/Raymond Reynolds
                                                        Authorized Officer
                                                        JPMorgan Chase Bank, N.A.
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